                           23-2166, 23-2167, 23-2185
            IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT


WE THE PATRIOTS USA, INC., et al.,

     Plaintiffs - Appellants,

v.                                                      No. 23-2166
                                                 (D.C. No. 1:23-CV-00773-
MICHELLE LUJAN GRISHAM, in her                      DHU-LF) (D.N.M.)
official capacity only, et al.,

     Defendants – Appellees.



ZACHARY FORT, et al.,

     Plaintiffs - Appellants,

v.

MICHELLE LUJAN GRISHAM, in her                          No. 23-2167
official capacity only, et al.,                  (D.C. No. 1:23-CV-00778-
                                                    DHU-LF) (D.N.M.)
     Defendants - Appellees.




                     ORAL ARGUMENT REQUESTED
RANDY DONK, et al.,

      Plaintiffs - Appellants,                                 No. 23-2185
                                                         (D.C. No. 1:23-CV-00772-
v.                                                         DHU-LF) (D.N.M.)

MICHELLE LUJAN GRISHAM, in her
official capacity only, et al.,

        Defendants - Appellees.

      On Appeal from the United States District Court, District of New Mexico
                         The Honorable David Herrera Urias

     CORRECTED CONSOLIDATED OPENING BRIEF OF PLAINTIFFS-
                       APPELLANTS

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                     STATEMENT OF RELATED CASES
      Pursuant to 10th Circuit Rule 28(C)(3), Plaintiffs-Appellants respectfully

submit that Springer v. Grisham, No. 23-2194, is a related case to these consolidated

appeals.




                                         x
                     CORPORATE DISCLOSURE STATEMENT
         We The Patriots USA, Inc. is a non-profit, non-stock corporation. It has no

parent corporation of subsidiaries, and no publicly held corporation holds 10% or

more of its stock.

         Firearms Policy Coalition (“FPC”) is a non-profit, non-stock corporation. FPC

has no parent corporation and no publicly held corporations hold 10% or more of its

stock.

         New Mexico Shooting Sports Association is a non-profit, non-stock

corporation. It has no parent corporation and no publicly held corporations hold 10%

or more of its stock.

         Second Amendment Foundation (“SAF”) is a non-profit, non-stock

corporation. SAF has no parent corporation and no publicly held corporations hold

10% or more of its stock.

         Gun Owners of America, Inc. (“GOA”) is a non-profit, non-stock corporation.

GOA has no parent corporation or subsidiaries, and no publicly held corporation

holds any stock in GOA.

         Gun Owners Foundation (“GOF”) is a non-profit, non-stock corporation. GOF

has no parent corporation or subsidiaries, and no publicly held corporation holds any

stock in GOF.
                                  INTRODUCTION
      In New York State Rifle & Pistol Association, Inc., v. Bruen, the Supreme

Court confirmed that the Second Amendment protects a “general right to publicly

carry arms for self-defense.” 597 U.S. 1, 31 (2022). By its plain text, the Second

Amendment “presumptively guarantees” an individual’s “right to ‘bear’ arms in

public for self-defense,” and “a State may not prevent law-abiding citizens from

publicly carrying handguns because they have not demonstrated a special need for

self-defense.” Id. at 33 & n.8.

      Before Bruen, New Mexico permitted firearm carry in all manner of public

places, including parks and playgrounds. Following Bruen, however, the Governor

of New Mexico, acting without any input from the State legislature, has unilaterally

decided that those same sorts of locations in Albuquerque and Bernalillo County, the

most populous city and county in the State, are suddenly now “sensitive places”

where the bearing of arms may be banned. Indeed, the Governor initially barred all

carry of operable firearms by individuals in Albuquerque and Bernalillo County,

only to retreat after the district court issued a temporary restraining order. The

Governor continues, however, to enforce her ban on carrying in parks and

playgrounds, insisting it to be constitutional.

      The Governor is incorrect. Her carry restrictions are fundamentally

incompatible with the Second Amendment because they are not supported by


                                           1
widespread, distinctly similar historical laws dating to the Founding era. Indeed,

parks and spaces for public recreation have existed since the Colonial era, but there

were zero corresponding bans on firearm carry there. Under Bruen, this means that

firearm carry cannot be restricted in such locations today.

      The Governor’s restrictions are particularly perverse because they prohibit

individuals in locations such as parks and playgrounds—that Defendants assert are

‘vulnerable’—from arming themselves for their own defense and the defense of their

children and grandchildren. That flatly contradicts the Founding-era solution, which

was to ensure that all members of “the people” were armed, to protect not only

themselves but also the “vulnerable” in society who are incapable of armed self-

defense. The Governor’s carry restrictions violate the Second Amendment and

should be enjoined.

                       JURISDICTIONAL STATEMENT
      Plaintiffs in these consolidated appeals are three individuals and six

membership advocacy organizations. Plaintiffs We the Patriots USA, Inc. and

Dennis Smith sued on September 9, 2023 (“Smith Plaintiffs”), Plaintiffs Randy

Donk, Gun Owners of America, and Gun Owners Foundation (“Donk Plaintiffs”)

sued that same day, and Plaintiffs Zachary Fort, New Mexico Shooting Sports

Association, Firearms Policy Coalition, and Second Amendment Foundation (“Fort




                                          2
Plaintiffs”) 1 sued on September 11, 2023. The United States District Court for the

District of New Mexico had subject matter jurisdiction over these suits under 28

U.S.C. §§ 1331 and 1343. The Smith and Donk Plaintiffs seek to enjoin the

Governor’s Amended Public Health Order restricting firearm carry in parks and

playgrounds in Alburquerque and Bernalillo County as unconstitutional under the

Second Amendment and Fourteenth Amendments, while the Fort Plaintiffs’

challenge is limited to the restriction on firearm carry in parks. The district court

entered an order on October 11, 2023, denying Plaintiffs’ motions for a preliminary

injunction against the enforcement of the Public Health Order. All Plaintiffs timely

noticed appeals from that denial, with the Smith Plaintiffs filing on October 19,

2023, the Fort Plaintiffs filing on October 20, 2023, and the Donk Plaintiffs filing

on November 6, 2023. This Court has jurisdiction over the appeal under 28 U.S.C.

§ 1292(a)(1).




      1
          References to “individual Plaintiffs” throughout the brief encompass
Plaintiffs Smith, Donk, and Fort.
                                         3
          STATEMENT OF THE ISSUES PRESENTED FOR REVIEW
     1.     Whether the district court erred in refusing to enjoin Defendants from

banning firearm carry at or within public parks in Alburquerque and Bernalillo

County.

     2.     Whether the district court erred in refusing to enjoin Defendants from

banning firearm carry at or within public playgrounds in Alburquerque and

Bernalillo County.

                         STATEMENT OF THE CASE
I.    Factual Background & Procedural History

      Citing rising rates of criminal “gun violence,” New Mexico Governor

Michelle Lujan Grisham issued Executive Order 2023-130 on September 7, 2023,

declaring a purported public health emergency. Corrected Consolidated Appendix

Volume 1 (“App. Vol. 1”) at 29–32. The Executive Order directed the New Mexico

State Departments of Public Health, Homeland Security and Emergency

Management, and Public Safety to coordinate with the Governor’s office to

implement the Order. See id. New Mexico’s Secretary of Health then issued a “Public

Health Emergency Order Imposing Temporary Firearm Restrictions, Drug

Monitoring and other Public Safety Measures” the next day. App. Vol. 1 at 33–36.

As relevant here, the Order temporarily restricted open and concealed carry of

firearms by any person within cities and counties in New Mexico with specified rates


                                         4
of violent crime and certain numbers of emergency room visits, and on state

property, in public schools, and in public parks. See id. The Order exempted only

law enforcement officers and licensed security guards. See id.

      Plaintiffs in the three cases consolidated here are three individuals—Dennis

Smith, Randy Donk, and Zachary Fort—and six membership advocacy

organizations—We the Patriots USA, Inc., Gun Owners of America, Inc., Gun

Owners Foundation, New Mexico Shooting Sports Association, Firearms Policy

Coalition, Inc., and Second Amendment Foundation. The individual Plaintiffs keep

and bear firearms for self-defense and defense of their families in the jurisdictions

affected by the Public Health Order. See, e.g., App. Vol. 1 at 61–63; Corrected

Consolidated Appendix Volume 2 (“App. Vol. 2”) at 24–26; Corrected Consolidated

Appendix Volume 3 (“App. Vol. 3”) at 23–24. Plaintiffs challenged the

constitutionality of the Order under the Second Amendment, initially moving for a

temporary restraining order and preliminary injunction against certain provisions.

The district court agreed that Defendants’ broad firearms restrictions were likely

unconstitutional under the Second Amendment and temporarily restrained the

Order’s prohibition on carry within cities and counties averaging certain rates of

violent crime and certain numbers of emergency room visits. App. Vol. 1 at 64–65.

The Court also found likely unconstitutional and temporarily restrained the

prohibition on carry within state property, public schools, and public parks “to the


                                         5
extent it imposes additional restrictions on the carrying or possession of firearms

that were not already in place prior to its issuance.” App. Vol. 1 at 111.

      Two days later, the New Mexico Department of Health issued the Amended

Public Health Order (“Amended Order”). App. Vol. 1 at 100–04. While the Amended

Order is narrower than its predecessor, it prohibited carrying firearms in “public

parks and playgrounds, or other public area provided for children to play in” in the

City of Albuquerque and Bernalillo County. See id. The Amended Order does not

apply to designated state parks owned and managed by New Mexico. See id. The

Amended Order’s firearm restrictions were nominally temporary, set to expire on

October 6, 2023. See id.

      The Smith and Donk Plaintiffs moved to preliminarily enjoin the restrictions

on carry in parks and playgrounds, while the Fort Plaintiffs moved to preliminarily

enjoin the restrictions on carry in parks. The district court consolidated the cases,

App. Vol. 1 at 171–76, and held a hearing on the motions for a preliminary injunction

on October 3, 2023, App. Vol. 1 at 9.

      Before the district court could rule on those motions, the New Mexico

Department of Health issued another order on October 6, 2023, which was identical

to the Amended Order save for dropping the prohibition on carry in “public areas

provided for children to play in.” App. Vol. 1 at 162–66 (“Second Amended




                                           6
Order”).2 While it was set to expire on November 3, 2023, the Governor extended

the Public Health Emergency until December 29, 2023, allowing the firearm

regulations to persist. App. Vol 1 at 167–70. After Defendants issued the Second

Amended Order, the Smith Plaintiffs filed an amended motion for preliminary

injunction challenging that Order. The Governor has continued to extend the Order

each time its expiration approaches. See, e.g., Exec. Order No. 2023-146,

https://bit.ly/4b8pzHT (extending the Public Health Emergency to January 26,

2024); Exec. Order No. 2024-001, https://bit.ly/4bdCZlU (extending the Public

Health Emergency to February 23, 2024).

II.   The District Court’s Decision

      The district court first evaluated the individual Plaintiffs’ standing to sue. The

Court held that Plaintiffs Donk and Smith had standing to challenge the Public

Health Order’s prohibition on carry in parks and playgrounds. App. Vol. 1 at 188–

89. Both Plaintiffs stated that they currently carry in parks and playgrounds and

intend to do so in the near future. See id. Given that the Order could be enforced

against Plaintiffs and a “credible threat of prosecution” exists, the district court held

that they sufficiently alleged the elements of standing. See id. As to Plaintiff Fort,



      2
        Because the relevant provision of the Amended Public Health Order and
Second Amended Public Health Order barring carry in parks and playgrounds are
identical, Plaintiffs simply refer to both as “Order” or “Public Health Order” for the
remainder of this Brief.
                                           7
the district court held that he had standing to challenge the prohibition on carry in

parks because he “testif[ied] to regularly carrying firearms in parks[.]” App. Vol. 1

at 189.

      On the merits, the district court first laid out the test from Bruen, which asks

whether the Second Amendment’s plain text covers an individuals’ conduct, and if

so, whether restrictions on that conduct are consistent with this Nation’s historical

tradition. App. Vol. 1 at 190–91. As for the threshold inquiry, the district court found

“no dispute” that the text of the Second Amendment covers individual Plaintiffs’

conduct. App. Vol. 1 at 191.

      Moving on to the historical tradition inquiry, the district court held that

“historical sources from the period of the ratification of the Fourteenth Amendment

in 1868 are more probative of the scope of the Second Amendment[] right to bear

arms than those from the Founding Era.” App. Vol. 1 at 192. In so holding, the district

court relied on a now-vacated Eleventh Circuit opinion and a District of Maryland

opinion. App. Vol. 1 at 192 (citing NRA v. Bondi, 61 F.4th 1317, 1322 (11th Cir.

2023), vacated, reh’g en banc granted, 2023 WL 4542153 (11th Cir. July 14, 2023),

and Md. Shall Issue, Inc. v. Montgomery Cnty., No. TDC-21-1736, 2023 WL

4373260, at *8 (D. Md. July 6, 2023)). The district court then addressed the specific

locations at issue. As for parks, it relied on alleged analogues from the

Reconstruction Era and the late 19th and early 20th century which established, in its


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view, a historical tradition of banning carry. App. Vol. 1 at 192–95. For playgrounds,

the district court found that they are analogous to schools, which District of

Columbia v. Heller suggested are “sensitive places” where firearms can be banned.

App. Vol. 1 at 88–92 (citing Heller, 554 U.S. 570, 626–27 (2008)). Because the

district court found that Plaintiffs failed to show a substantial likelihood of success

on the merits of their Second Amendment claim, the court did not analyze the

remaining injunctive relief factors. The Smith, Donk, and Fort Plaintiffs timely

appealed, App. Vol. 1 at 200, 202, 204, and this Court sua sponte consolidated the

three cases.

      In this consolidated appeal, Plaintiffs collectively challenge the denial of a

preliminary injunction against the bans on carrying firearms at parks and

playgrounds in Albuquerque and Bernalillo County.

                          SUMMARY OF ARGUMENT
      Carrying firearms in public for self-defense—including at parks and

playgrounds—is protected by the plain text of the Second Amendment. Defendants

therefore must justify their bans by demonstrating that they fall within the nation’s

early historical tradition of firearm regulation. Under Bruen, Defendants bear the

heavy burden to present distinctly similar historical laws from the Founding era,

which is the only relevant time period when determining the original meaning of the

Bill of Rights. Defendants will be unable to prove such a tradition. Plaintiffs are


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unaware of any historical evidence from the Founding establishing a regulatory

tradition of banning carry in parks or playgrounds. Indeed, precisely the opposite is

true. At the Founding, firearms were permitted in parks and in other places where

people (including allegedly “vulnerable” people) gathered.

      The district court erred when it looked past the Founding era, not to confirm

an earlier tradition, but rather to fabricate a novel “tradition,” piecemeal, that was

entirely unfamiliar to the generation that adopted the Second Amendment. The

Supreme Court has already foreclosed such reliance on post-Founding, contradictory

history in decisions spanning several provisions of the Bill of Rights, including the

Second Amendment. Moreover, the district court incorrectly relied on laws enacted

by an unrepresentative smattering of municipalities and laws from the territories—

categories of historical evidence Bruen expressly held carry little, if any, weight.

Finally, the court erroneously credited lesser, purportedly “relevantly similar”

analogues in a case for which essentially identical locations existed at the Founding,

and no uniquely modern societal issue justified an expanded analogical approach. In

so doing, the court neglected to even analyze Bruen’s “how” and “why” analogical

metrics, leaving unexplained just how Defendants’ late-in-time history could be

relevant. But most fatally, the district court erred by ignoring the Founding-era

evidence permitting—and sometimes expressly requiring—carry in places where

purportedly vulnerable people gather. This evidence, and the lack of any relevant


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history supporting Defendants’ ban, establishes that Plaintiffs are likely to succeed

on the merits of their Second Amendment claim.

      While the district court did not address the remaining injunctive relief factors,

all favor Plaintiffs. The ongoing denial of a constitutional right is an irreparable

injury. And the equities and the public interest—merged in a suit against the

government—are not served by Defendants continuing to enforce an

unconstitutional restriction.

                                     ARGUMENT
I.    STANDARD OF REVIEW
      A party seeking a preliminary injunction must establish: (1) a likelihood of

success on the merits; (2) a likelihood of suffering irreparable harm in the absence

of preliminary relief; (3) that the balance of equities tips in his favor; and (4) that the

injunction is in the public interest. See Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 20 (2008). The first two factors—likelihood of success on the merits and

likelihood of suffering irreparable harm—are “the most critical.” Nken v. Holder,

556 U.S. 418, 434 (2009). And the “third and fourth factors ‘merge’ when, like here,

the government is the opposing party.” Aposhian v. Barr, 958 F.3d 969, 978 (10th

Cir. 2020) (quoting Nken, 556 U.S. at 435).

      The standard of review is whether the district court abused its discretion in

denying a motion for a preliminary injunction. Abuse of discretion occurs when a

decision is “premised on an erroneous conclusion of law.” Fish v. Kobach, 840 F.3d
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710, 723 (10th Cir. 2016). The district court’s factual findings are reviewed for clear

error and its conclusions of law are reviewed de novo. See id. All issues relevant to

this appeal are conclusions of law.

II.   THE CHALLENGED PROVISIONS VIOLATE PLAINTIFFS’
      SECOND AMENDMENT RIGHTS
      There is no question that “the Second Amendment guarantees a general right

to public carry,” meaning Americans are entitled to “‘bear’ arms in public for self-

defense.” Bruen, 597 U.S. at 33. Any locational restrictions on this “general right to

public carry” must comport with the original meaning of the Second Amendment, as

understood by the Founding generation. Id. To determine whether a government

restriction is constitutional, the first question is whether “the Second Amendment’s

plain text covers an individual’s conduct”; if so, “the Constitution presumptively

protects that conduct,” the challenged restriction is presumed unconstitutional, and

“[t]he government must then justify its regulation by demonstrating that it is

consistent with the Nation’s historical tradition of firearm regulation.” Id. at 24. It is

the government’s burden to “affirmatively prove that its firearms regulation is part

of th[at] historical tradition,” and the Court is “not obliged to sift the historical

materials for evidence” itself. Id. at 19, 60. If the government fails to satisfy this

burden, its restrictions must be enjoined. Defendants’ Order fails this test.




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      A. The Second Amendment’s Plain Text Covers Plaintiffs’ Conduct

      The plain text of the Second Amendment protects Plaintiffs’ proposed course

of conduct, as the district court correctly held. App. Vol. 1 at 191. The Supreme Court

has defined the Second Amendment’s key terms: “The people” presumptively

includes “all Americans”; “Arms” includes “all instruments that constitute bearable

arms”; and to “bear” simply means to “carry.” Heller, 554 U.S. at 580–82, 584

(internal quotations omitted); Bruen, 597 U.S. at 28. Moreover, “[n]othing in the

Second Amendment’s text draws a home/public distinction,” Bruen, 597 U.S. at 32,

or for that matter, any distinction between locations at all. The Second Amendment’s

textual silence differs from other constitutional amendments that contain locational

restrictions. See U.S. CONST. amend. III (“No Soldier shall, in time of peace be

quartered in any house, without the consent of the Owner, nor in time of war, but in

a manner to be prescribed by law.”); U.S. CONST. amend. IV (“The right of the

people to be secure in their persons, houses, papers, and effects, against unreasonable

searches and seizures, shall not be violated[.]”). Thus, as a matter of plain text, the

Second Amendment has long been understood to secure for citizens “the right to

keep and carry arms wherever they went.” Bruen, 597 U.S. at 60 (cleaned up).

      Individual Plaintiffs here are law-abiding Americans who seek to carry

bearable arms in parks and playgrounds for self-defense, including defense of their

families, children, and grandchildren. These undisputed facts end the textual inquiry:


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“the plain text of the Second Amendment protects [Plaintiffs’] proposed course of

conduct—carrying handguns publicly for self-defense.” Id. at 32. Accordingly, “the

burden falls on [Defendants] to show that [the challenged bans are] consistent with

this Nation’s historical tradition of firearm regulation.” Id. at 33–34.

      B. Controlling Methodological Considerations Under Bruen

             1. The Relevant Historical Period Centers on 1791, not 1868

     Bruen was explicit that “not all history is created equal.” 597 U.S. at 34; see

also id. at 36–37 (Sources originating ‘“75 years after the ratification of the Second

Amendment . . . do not provide as much insight into its original meaning as earlier

sources.’” (quoting Heller, 554 U.S. at 614)). This is so because “[c]onstitutional

rights are enshrined with the scope they were understood to have when the people

adopted them[.]” Heller, 554 U.S. at 634–35. The people adopted the Second

Amendment in 1791, so the public understanding of the right at that time controls.

Bruen, 597 U.S. at 37; see also Mark W. Smith, Attention Originalists: The Second

Amendment Was Adopted in 1791, not 1868, HARV. J. L. & PUB. POL’Y PER CURIAM

(Dec. 7, 2022), https://bit.ly/3RRRSmD. Consequently, evidence that long pre- or

post-dates 1791 is less probative. See Bruen, 597 U.S. at 35–37. Indeed, post-

Founding history serves a merely confirmatory role for traditions “‘already …

established’” at the Founding. Id. at 37 (quoting Gamble v. United States, 139 S. Ct.

1960, 1976 (2019)). Laws from the 20th century are categorically entitled to little or


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no weight. See id. at 66 n.28. The district court therefore erred in relying on statutes

and ordinances enacted after 1868—some even enacted as late as the 20th century.

      The Second Amendment binds the States and the federal government equally.

Bruen made clear that the “individual rights enumerated in the Bill of Rights and

made applicable against the States through the Fourteenth Amendment have the

same scope as against the Federal Government.” Id. at 37. Likewise in McDonald v.

City of Chicago, the Court held that “incorporated Bill of Rights protections are all to

be enforced against the States under the Fourteenth Amendment according to the same

standards that protect those personal rights against federal encroachment.” 561 U.S.

742, 765 (2010) (cleaned up). And Heller established that, as applied against the

Federal Government, the Second Amendment has the same scope today as at the

Founding. See 554 U.S. at 576–77. By elevating evidence from the Reconstruction era

and later beyond its secondary, confirmatory role, the district court impermissibly

diminished the scope of the Second Amendment’s protections against state action.

      While Bruen acknowledged a “scholarly” debate about the weight that evidence

from around the Fourteenth Amendment’s ratification in 1868 should carry in the

Second Amendment analysis, there is no such debate in the case law. While the Second

Amendment extends to the States via the Fourteenth Amendment, that is true of every

Bill of Rights provision that has been incorporated against the States. To accept the

period surrounding 1868 as “more probative” would be contrary to established


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precedent incorporating Bill of Rights provisions against the States. See, e.g.,

McDonald, 561 U.S. at 764–65 & nn.12, 13. For example, Bruen relied on two recent

incorporation decisions that both looked to the Founding era: Ramos v. Louisiana, 140

S. Ct. 1390 (2020) and Timbs v. Indiana, 139 S. Ct. 682 (2019). Ramos held that the

Sixth Amendment right to a unanimous jury verdict was incorporated against the States

and overruled prior precedent that had allowed the States to adopt a different rule under

a “dual track” approach to incorporation. The relevant historical benchmark for the

Court’s analysis was 1791. See Ramos, 140 S. Ct. at 1396 (discussing the history in

“young American states” and the “backdrop” of the ratification of the Bill of Rights in

1791).

         Similarly, in Timbs, the Court held that the Excessive Fines provision of the

Eighth Amendment was incorporated against the States. 139 S. Ct. at 686–87. The

Court once again looked to Founding-era sources to understand the scope of the right

as it existed in 1791. See id. at 687–88 (discussing “colonial-era provisions” and the

“constitutions of eight States”). The Court’s other precedents are in accord. See, e.g.,

Gamble v. United States, 139 S. Ct. 1960, 1975 (2019) (explaining that Heller sought

to determine “the public understanding in 1791 of the right codified by the Second

Amendment.”); Virginia v. Moore, 553 U.S. 164, 168 (2008) (“We look to the statutes

and common law of the founding era to determine the norms that the Fourth

Amendment was meant to preserve.”); cf. Lynch v. Donnelly, 465 U.S. 668, 674 (1984)


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(“The interpretation of the Establishment Clause by Congress in 1789 takes on special

significance.”). In short, accepting 1868 as the “more probative era” effectively

discards decades of jurisprudence looking to 1791 in addressing the incorporation of

Bill of Rights provisions. Thus, when the Second Amendment was incorporated

against the states, it carried with it the meaning established by the historical tradition

in 1791—“when the people adopted” it. Bruen, 597 U.S. at 34 (cleaned up).

      Bruen’s reasoning also underscores that 1791 carries the most (if not

definitive) weight. After initially rejecting “medieval English regulations,” id. at 40,

Bruen turned to sources leading up to the ratification of the Second Amendment,

including the 1689 English Bill of Rights. See id. at 44–45. After finding these

sources somewhat probative of the Amendment’s general original meaning (i.e., that

the right to bear arms is an individual, not a collective, right), the Court focused on

“the history of the Colonies and early Republic,” plus “the first decade after [the

Second Amendment’s] adoption.” Id. at 46, 50. And it found that the challenged law

had “no historical basis” because no analogue in that relevant historical period

supported it. Id. at 50. The Court then considered evidence prior to the Fourteenth

Amendment’s Ratification in 1868 because such evidence could have informed its

drafters. See id. at 50–59. But it again found no representative or relevant historical

analogue. See id.




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     Only after canvassing the historical evidence from these three periods did the

Court discuss post-1868 sources and the late-19th century. Id. at 60–70. But the

Court found that much of this later evidence “conflict[s] with the Nation’s earlier

approach to firearm regulation” and is “most unlikely to reflect ‘the origins and

continuing significance of the Amendment.’” Id. at 67. Thus, the Court declined to

rely on such laws and regulations. See id. at 66–68; accord Espinoza v. Mont. Dep’t

of Revenue, 140 S. Ct. 2246, 2258–59 (2020) (holding that “more than 30”

provisions of state law enacted “in the second half of the 19th Century” could not

“evince a tradition that should inform our understanding of the Free Exercise

Clause” when those provisions were not grounded in Founding-era practice.). Bruen

thus cautioned lower courts to “guard against giving postenactment history more

weight than it can rightly bear.” 597 U.S. at 35.

     In other words, Bruen’s reasoning mandates that the Founding era is the

benchmark against which historical evidence from later time periods must be

measured. See id. at 37 (noting that “19th-century evidence [has been] treated as

mere confirmation of what the Court thought had already been established.” (cleaned

up)); accord Lara v. Comm’r Pa. State Police, No. 21-1832, 2024 WL 189453, at

*7–8 (3d Cir. Jan. 18, 2024) (holding that 1791 is the most probative period when

evaluating restrictions on carry by 18-to-20-year-olds); Duncan v. Bonta, No. 17-cv-

1017, 2023 WL 6180472, at *20 (S.D. Cal. Sept. 22, 2023) (“Bruen teaches the most


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significant historical evidence comes from 1791[.]”); Worth v. Harrington, No. 21-

cv-1348, 2023 WL 2745673, at *11 (D. Minn. Mar. 31, 2023) (noting the “rather

clear signs that the Supreme Court favors 1791 as the date for determining the

historical snapshot of ‘the people’ whose understanding of the Second Amendment

matters”); May v. Bonta, No. 23-cv-1696, 2023 WL 8946212, at *5 (C.D. Cal. Dec.

20, 2023) (same)3; Springer v. Grisham, No. 1:23-cv-781, 2023 WL 8436312, at *7

(D.N.M. Dec. 5, 2023) (admonishing the government for providing “no citation to

any relevant laws around the time of the enactment of the Second Amendment, and

only two citations to laws before or around the enactment of the Fourteenth

Amendment”). 4 Restrictions on the right to keep and bear arms adopted shortly

before and during the Reconstruction era may be confirmatory of earlier legislation

but cannot alone provide the historical tradition Bruen requires. Only “enduring”

and “well-established” restrictions with roots in the Founding era are relevant in

assessing whether the challenged restrictions comport with the Second




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         The Ninth Circuit recently declined the government’s request to stay the
district court’s injunction of California’s sensitive places law pending appeal and
dissolved the administrative stay that had been entered. See Order, May v. Bonta,
No. 23-4356 (Jan. 6, 2024), Doc. No. 20.1.
      4
        The Springer Court recently rejected the Governor’s request for a stay
pending appeal, reasoning that she had not made a strong showing that she is likely
to succeed on appeal. See Order, Springer v. Grisham, No. 1:23-cv-00781 (Jan. 22,
2024), Doc. No. 37.
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Amendment’s “unqualified command.” Bruen, 597 U.S. at 17 (quoting Konigsberg

v. State Bar of Cal., 366 U.S. 36, 50 n.10 (1961)).

     Even if the Fourteenth Amendment’s enactment in 1868 somehow imbued the

Bill of Rights with new meaning, laws enacted in the years preceding the Fourteenth

Amendment’s ratification would be most probative of what that new meaning is.

See, e.g., Ramos, 140 S. Ct. at 1396 (looking to the “backdrop” of many state

constitutions against which the Founders drafted and the states ratified the Sixth

Amendment). Defendants cannot engage in “freewheeling reliance on historical

practice from the mid-to-late 19th century[,]” which cannot establish the Second

Amendment’s meaning in either 1868 or 1791. Bruen, 597 U.S. at 83 (Barrett, J.,

concurring). Indeed, given the political turmoil present in the post-Civil-War South

(where several of Defendants’ analogues originate), laws from that era and region

are unlikely to be probative of the Second or Fourteenth Amendment’s original

meaning, much less a “national” tradition. In fact, racist and bigoted anti-gun laws

like that are precisely what the Second Amendment was designed to prevent.

     For all these reasons, the authorities on which the district court relied to find

that Reconstruction-era evidence controlled the analysis do not adhere to Bruen.

App. Vol. 1 at 192 (citing Bondi, 61 F.4th at 1322, vacated, reh’g en banc granted,

NRA v. Bondi, 2023 WL 4542153 (11th Cir. July 14, 2023); Md. Shall Issue, 2023

WL 4373260, at *8). Nor can they be squared with decades of Supreme Court


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precedent about enumerated rights. See Lara, 2024 WL 189453, at *8 (“[T]o

maintain consistency in our interpretation of constitutional provisions, we hold that

the Second Amendment should be understood according to its public meaning in

1791.”). It thus comes as no surprise that the Eleventh Circuit’s decision in Bondi

has been vacated pending rehearing en banc, removing any precedential value. See

Burke v. Regalado, 935 F.3d 960, 1045 n.72 (10th Cir. 2019). 5

          2. A Historical Tradition Requires Proof of Representative,
          Distinctly Similar Analogues
      Bruen held that forming a historical tradition requires proof of representative,

distinctly similar analogues. Analogues may be representative if they are present in

many states and therefore affect large swaths of the population. Bruen, 597 U.S. at

65 (rejecting restrictions in one state statute and two state court decisions as not

representative); id. at 46 (doubting that “three colonial regulations could suffice to

show a tradition of public-carry regulation”); id. at 67–68 (rejecting regulations




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        The Second Circuit recently reached the same conclusion that historical
evidence postdating the Fourteenth Amendment can illuminate the scope of Second
Amendment rights to the exclusion of the Founding era. See Antonyuk v. Chiumento,
No. 22-2908, 2023 WL 8518003 (2d Cir. Dec. 8, 2023). For all the reasons discussed
herein, the Second Circuit’s analysis is inconsistent with Bruen’s holding and
reasoning, and two Supreme Court Justices signaled an interest in future review.
Antonyuk v. Nigrelli, 143 S. Ct. 481, 481 (2023) (Alito, J., and Thomas, J., respecting
denial of application to vacate stay) (“The New York law at issue in this application
presents novel and serious questions under both the First and the Second
Amendments. . . . Applicants should not be deterred by today’s order from again
seeking relief . . . .”).
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applying to only 1% of the population). In other words, laws existing in only a few

jurisdictions—historical “outlier[s]”—should be disregarded. Id. at 30; see also

Koons v. Platkin, No. 22-7464, 2023 WL 3478604, at *68, *85 (D.N.J. May 16,

2023) (finding three Reconstruction-era laws non-representative and explaining that

one state law and 25 local ordinances, covering less than 10% of the nation’s

population, were insufficient).6 Similarly, laws in the territories are afforded “little

weight” because they were “localized[,]” “rarely subject to judicial scrutiny,” and

“short lived.” Bruen, 597 U.S. at 67–69.

      Bruen also held that, where the challenged regulation addresses “a general

societal problem” of a type also present during the Founding, any historical analogue

must be “distinctly similar” to the challenged regulation, measured by “how and why

[it] burdens a law-abiding citizen’s right to armed self-defense.” Id. at 26, 29. In

other words, the modern regulation must impose a “comparable burden on the right

of armed self-defense” as did the historical regulation, and for a similar reason. Id.

at 29. This requirement means that Founding-era laws, arising in different contexts,

and for different reasons, will be inapt comparators. For example, historical

poaching and hunting restrictions are generally insufficient to demonstrate the

constitutionality of a modern-day restriction on carrying firearms during day-to-day



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       The Third Circuit stayed portions of the Koons ruling pending appeal without
reasoning. See Order, Koons v. Platkin, No. 23-1900, (June 20, 2023), Doc. No. 29.
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life. Both how hunting laws burdened the right to carry firearms for self-defense

(when hunting) and why they did so (to regulate hunting and reduce the taking of

certain animals in certain places during certain seasons) have nothing to do with

restricting the right of self-defense in modern-day New Mexico. See, e.g., Koons,

2023 WL 3478604, at *64–65. Indeed, “the lack of a distinctly similar historical

regulation addressing that problem is relevant evidence that the challenged

regulation is inconsistent with the Second Amendment.” Bruen, 597 U.S. at 26.

             3. Analogies to Other Sensitive Places

      The Court has not yet had occasion to comprehensively define the scope of

the “sensitive places” doctrine. Instead, Bruen simply “assume[d]” that carry could

be restricted at certain places, in accordance with an assumed but yet-untested

historical tradition. But even then, the Court anticipated there might be only three

such sorts of locations at the Founding “where weapons were altogether prohibited”:

legislative assemblies, polling places, and courthouses. Id. at 30; see also David B.

Kopel & Joseph G.S. Greenlee, The “Sensitive Places” Doctrine, 13 CHARLESTON

L. REV. 204, 289–90 (2018). Accordingly, this Court at most may analogize to “those

historical regulations of ‘sensitive places’ to determine that modern regulations

prohibiting the carry of firearms in new and analogous sensitive places are

constitutionally permissible.” Bruen, 597 U.S. at 30 (emphases added). But parks

and playgrounds are nothing “new.” Moreover, the Court cautioned against


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overexpansion of sensitive places, lest they become the exception that swallows the

rule of “a general right to public carry.” Id. at 33. Thus, “sensitive places” must

remain “few” and “exceptional.” Id. at 30, 38; see also Range v. U.S. Att’y Gen., 69

F.4th 96, 105 (3d Cir. 2023) (“[H]istorical restrictions on firearms in ‘sensitive

places’ do not empower legislatures to designate any place ‘sensitive’ and then ban

firearms there[.]”).

      Understanding why the three presumptively sensitive places Bruen identified

were historically deemed sensitive requires analysis of what they have in common. 7

All shared a key characteristic at the Founding: they were enclosed, securable

locations protected by government-provided comprehensive security, which

lessened the public’s need for individual weapons. See, e.g., Kopel & Greenlee at

290 (“When armed guards are present, the government takes the responsibility for


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         Plaintiffs Donk, GOA, and GOF do not join this and the following five
paragraphs, which seek to delineate certain boundaries of the sorts of places that
constitute “sensitive places.” First, the Supreme Court has yet to conclusively
identify any location as a sensitive place. But even then, the locations listed in Bruen
are not merely places where the government provides “comprehensive security.”
Rather, as Judge Sinatra explained in Hardaway v. Nigrelli, 636 F. Supp. 3d 329, 346
(W.D.N.Y. 2022), the types of places identified by the Court are “civic locations”
that are “sporadically visited in general” and where “key functions of democracy”
can be disrupted, and as such are “secured locations” where “uniform lack of
firearms is generally a condition of entry.” Id. Permitting the government to create
new “sensitive places” at will, merely by conditioning entry to a place on the public’s
disarmament, could be expanded to “apply nearly everywhere in public,” id.,
“empower[ing] legislatures to designate any place ‘sensitive’ and then ban firearms
there…,” Range, 69 F.4th at 105 (cleaned up). If any place is to be a sensitive place,
far more than just “comprehensive security” is required.
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having armed force at the ready to protect citizens.”); Amicus Br. of the Ctr. for Hum.

Liberty at 8–17, Antonyuk v. Nigrelli, No. 22-2908 (2d. Cir. Feb. 9, 2023), Doc. No.

313 (“Ctr. for Hum. Liberty Br.”); Amici Br. of Citizens Comm. for the Right to

Keep and Bear Arms, et al. 8–17, Koons v. Platkin, No. 23-1900 (3d Cir. Aug. 16,

2023), Doc. No. 91. They also are not places of frequent concourse by typical law-

abiding citizens, and “uniform lack of firearms is generally a condition of entry.”

Hardaway, 636 F. Supp. 3d at 346. In other words, based on the relevant historical

tradition, comprehensive security at a minimum is required for a place to be deemed

sensitive.

      Founding-era examples of comprehensive security in these locations abound.8

Start with legislatures. Rhode Island, Delaware, Pennsylvania, South Carolina, New

York, Georgia, New Jersey, Virginia, and Vermont all enacted statutes compensating

law enforcement to attend and provide security at their legislatures. See THE PUBLIC

LAWS OF RHODE ISLAND 220, 222 (Providence, Carter & Wilkinson 1798) (providing

fees for sheriffs, town sergeants, and constables to attend the general assembly); 2

LAWS OF DELAWARE 1100, 1118 (Samuel and John Adams eds. 1797) (similar); 10

PENNSYLVANIA STATUTES AT LARGE 378 (William Stanley Ray ed., 1904)

(referencing sergeant-at-arms and door-keeper for legislature); PUBLIC LAWS OF



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        All primary sources cited herein are appended in Attachment B for the
Court’s convenience.
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SOUTH CAROLINA 426, 427 (Philadelphia, R. Aitken & Son 1790) (providing for

payment of door-keepers for the legislature); 1 LAWS OF NEW YORK 532 (Charles R.

& George Webster 1802) (similar); A COMPILATION OF THE LAWS OF GEORGIA 373

(Augustine Smith Clayton ed. Augusta, Adams & Duyckinck 1812) (similar);

JOURNAL OF THE VOTES AND PROCEEDINGS OF THE PROVINCIAL CONGRESS OF NEW

JERSEY 239, 240 (1835) (similar); JOURNAL OF THE HOUSE OF DELEGATES OF THE

COMMONWEALTH OF VIRGINIA 77 (Richmond, Thomas W. White 1828) (similar);

LAWS OF VERMONT 382, 387 (1808) (similar).

      The same was true of courthouses. South Carolina, Virginia, Delaware, New

Jersey, New York, and Pennsylvania by statute required law enforcement officials to

attend court. See PUBLIC LAWS OF SOUTH CAROLINA, supra, at 271 (“The Said

sheriffs shall by themselves, or their lawful deputies respectively, attend all the

courts hereby appointed, or directed to be held, within their respective districts”); A

COLLECTION OF ALL SUCH ACTS OF THE GENERAL ASSEMBLY OF VIRGINIA 69–71

(1803) (similar); 2 LAWS OF DELAWARE, supra, at 1088, 1091 (similar); LAWS OF

NEW JERSEY 49, 50, 58 (Joseph Bloomfield ed., Trenton, James J. Wilson 1811)

(similar); 1 LAWS OF NEW YORK 176 (Websters & Skinner 2d ed. 1807) (requiring

during court “all justices of the peace, coroners, bailiffs, and constables within their

respective counties, that they be then and there in their own persons. . . . And the

said respective sheriffs and their officers shall then and there attend in their own


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proper persons.”); STATUTES AT LARGE OF PENNSYLVANIA 57 (similar). Beyond these

statutory requirements, the legislative record in other states indicates that law

enforcement officials were compensated for attending judicial proceedings. See

ACTS AND LAWS OF THE STATE OF CONNECTICUT 63–65 (New London, Timothy

Green 1784); A DIGEST OF THE LAWS OF GEORGIA, 471, 473–74, 478 (Robert &

George Watkins ed., 1800); THE LAWS OF MARYLAND, ch. 25 (1799) (1799 law);

ACTS AND RESOLVES OF MASSACHUSETTS 235 (Boston, Adams & Nourse 1893)

(1786 law); LAWS OF NEW HAMPSHIRE 112–16 (1797); A MANUAL OF THE LAWS OF

NORTH CAROLINA 190–91, 196 (John Haywood ed., 1814); THE PUBLIC LAWS OF

RHODE ISLAND, supra, at 220; LAWS OF VERMONT 382, 287 (Randolph, Sereno

Wright 1808) (1798 law).

      Polling places were similarly secured by government-provided security at the

Founding, including in Georgia, Virginia, New Jersey, Maryland, Delaware, and

South Carolina. See A DIGEST OF THE LAWS OF GEORGIA, supra at 611 (“[T]he sheriff

of each county or his deputy, is required to attend at such elections, for the purpose

of enforcing the orders of the presiding magistrates in preserving good order.”);

ABRIDGEMENT OF THE PUBLIC PERMANENT LAWS OF VIRGINIA 325 (Augustine Davis

ed., 1796) (similar); MD. CONST. art. 1 §§ 3, 14 (1776) (similar); LAWS OF NEW

JERSEY, supra, at 36 (providing security at polling places); 2 LAWS OF DELAWARE

supra, at 984 (similar); THE PUBLIC LAWS OF THE STATE OF SOUTH CAROLINA, supra,


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at 386–88 (table of fees includes payment to sheriffs for polling-place-related

duties).

      In other words, legislative assemblies, polling places, and courthouses were

sensitive because the government treated them as such by providing comprehensive

security. Their sensitive nature was never a matter of government fiat. The closest

thing to the comprehensive security provided at the Founding in legislative

assemblies, polling places, and courthouses today is, unsurprisingly, guards and

metal detectors at entrances to courthouses or even TSA at the airport. See Koons,

2023 WL 3478604 at *90 (“Airports have many security measures such as

Transportation Security Administration (TSA) officers, air marshals, police officers,

metal detectors, and luggage scanners that all check people and their baggage for

weapons and dangerous devices, like explosives.”). That the government can

prohibit firearms in places it comprehensively secures makes sense. The point of the

Second Amendment is ensuring that Americans can be “armed and ready” for

“ordinary self-defense needs.” Bruen, 597 U.S. at 32, 60. But when the government

secures a location and protects those in it, there is less of a need for ordinary, law-

abiding Americans to be ready to defend themselves.

      The problem for Defendants is that parks and playgrounds in Alburquerque

and Bernalillo County have none of these features. Visitors are not “screened by

security” when they enter a park or a playground, nor do these areas “have controlled


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entry points.” Bridgeville Rifle & Pistol Club, Ltd. v. Small, 176 A.3d 632, 659 (Del.

2017). Nor does the government otherwise assume responsibility for protecting

Plaintiffs (and their children and grandchildren) when visiting such locations.

Because parks and playgrounds lack the comprehensive security endemic to

sensitive places at the Founding, firearm carry cannot be banned there.

      B. There Is No Historical Tradition of Barring Carry in Parks

      Bruen reasoned that, “when a challenged regulation addresses a general

societal problem that has persisted since the 18th century, the lack of a distinctly

similar historical regulation addressing that problem is relevant evidence that the

challenged regulation is inconsistent with the Second Amendment.” 597 U.S. at 26.

There is nothing new about parks, and there is nothing new about potential violence

in parks or in public green spaces more generally. And Defendants will be unable to

point to any relevant historical tradition from the Founding prohibiting carry in

parks. Accord Koons, 2023 WL 3478604, at *82–85; Springer, 2023 WL 8436312,

at *7–8 (enjoining the same Public Health Order here with respect to parks based on

the same analogues).

      Many parks were created before 1800, including the National Mall in

Washington, DC, Boston Common in Massachusetts, Battery and Duane parks in

New York, and more. See Trust for Public Land, The 150 Largest City Parks,

https://bit.ly/47VJw1Q (last visited Jan. 26, 2024) (“Largest City Parks”); Margaret


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Walls, Parks & Recreation in the U.S.: Local Park Systems, RESOURCES FOR THE

FUTURE (June 2009), https://bit.ly/42gjo0D (“Walls”). And several dozen more parks

were created in the years preceding the Fourteenth Amendment’s ratification. See

Largest City Parks.

      For example, Boston Common, established in 1634, is considered “the

nation’s first city park.” Walls at 1; accord Koons, 2023 WL 3478604, at *83. It was

far from a gun-free zone. Indeed, the space was commonly used for militia purposes,

including training with firearms. See Anne Beamish, Before Parks: Public

Landscapes in Seventeenth- and Eighteenth-Century Boston, New York, and

Philadelphia, 40 LANDSCAPE J. 1, 3–6 (2021). And “[t]he Common also served as a

site for informal socializing and recreation” including “[s]trolling,” “[h]orse- and

carriage-riding,” “sports,” “entertainment,” and “raucous celebrations.” Id.; see also

Boston Common, NAT’L PARK SERV., https://bit.ly/3SGumtc (last visited Jan. 26,

2024) (“[T]he Common was a place for recreation as early as the 1660s.”). In New

York, City Hall Park began as a “public common” in the 17th century. The Earliest

New    York   City    Parks,   N.Y. CITY DEP’T       OF   PARKS & RECREATION,

https://on.nyc.gov/3hBZXfe (last visited Jan. 26, 2024). And New York’s Bowling

Green Park was established in 1733. Id. Nearby Duane Park was also the first open

space purchased “specifically for use as a public park” in 1797. Duane Park Origins,

THE HIST. MARKER DATABASE, https://bit.ly/3S92dt4 (last visited Jan. 26, 2024).


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Other examples abound throughout the colonies and early Republic. See, e.g.,

Largest City Parks at 5–6.

      Despite the existence of parks at the Founding, there is no analogous historical

tradition of banning firearm carry there by private citizens. Quite to the contrary. In

fact, had the colonists left their muskets at home when they mustered on the

Lexington Common (also known as the Lexington Battle Green) in April of 1775,

we might still be British subjects. Unsurprisingly, then, neither the district court nor

Defendants has pointed to a historical tradition of banning firearms at such locations

during the Founding era. Indeed, even before Bruen, courts had rejected attempts to

characterize such locations as “sensitive places.” See, e.g., Small, 176 A.3d at 658

(holding that State parks and State forests were not “sensitive places” and that the

County’s ban on firearms in such places was unconstitutional under Delaware’s

version of the Second Amendment); People v. Chairez, 104 N.E.3d 1158, 1176 (Ill.

2018) (holding that an Illinois statute that banned possession of firearms within

1,000 feet of a public park violated the Second Amendment and rejecting argument

that that area was a “sensitive” place); Morris v. U.S. Army Corps of Eng’rs, 60 F.

Supp. 3d 1120, 1123–25 (D. Idaho 2014), appeal dismissed, No. 14-36049, 2017

WL 11676289 (9th Cir. Dec. 15, 2017) (rejecting argument that U.S. Army Corps of

Engineers’ outdoor recreation sites were sensitive places); Solomon v. Cook Cnty.

Bd. of Comm’rs, 559 F. Supp. 3d 675, 690–96 (N.D. Ill. 2021) (finding that a forest


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preserve district was not a “sensitive place”); DiGiacinto v. Rector & Visitors of

George Mason Univ., 704 S.E.2d 365, 370 (Va. 2011) (contrasting “a public street

or park” with sensitive places).

      Without any Founding-era evidence, the district court focused exclusively on

mid- to late-19th century and 20th-century regulations, identifying only a few state

laws. App. Vol. 1 at 192–94. The first, from Texas in 1870, prohibited firearms “in

place[s] where persons are assembled for educational, literary, or scientific

purposes.” 1870 TEX. GEN. LAWS 63, ch. 46. The second, from Missouri in 1883,

prohibited firearms for the same reasons as the Texas law, and in public assemblies

generally. 1883 MO. SESS. LAWS 76. The third, from Minnesota in 1905, prohibited

firearms within a half-mile of state parks. 1905 MINN. GEN. LAWS ch. 344 § 53. The

fourth, from Wisconsin in 1917, prohibited bringing firearms into a “wild life refuge,

state park, or state fish hatchery lands” unless they were unloaded and in a carrying

case. 1917 WIS. SESS. LAWS ch. 668 § 29.57(4). The fifth, from North Carolina in

1921, prohibited the carrying of firearms in both private and public parks without

the permission of the owner of the park. 1921 N.C. SESS. LAWS ch. 6 § 3.

      The district court erred in finding that these restrictions sufficed to

demonstrate a broad and enduring national tradition of restricting carry in parks. A

few states’ laws far removed from the Founding (most by more than a century)

provide not a shred of guidance as to the meaning of the Second Amendment. See


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Bruen, 597 U.S. at 46 (doubting that three state laws sufficed to evince a national

tradition); see also, e.g., Rocky Mountain Gun Owners v. Polis, No. 23-cv-01077,

2023 WL 5017253, at *18 (D. Colo. Aug. 7, 2023) (Absent “any confirmation in the

form of founding era regulations,” courts cannot give weight to “three pre-Civil War

regulations[.]”); May, 2023 WL 8946212, at *7–17 (rejecting the government’s

reasoning that a few laws post-dating the Fourteenth Amendment suffice to create a

national tradition of restricting carry); Lara, 2024 WL 189453, at *8 (3d Cir. Jan.

18, 2024) (discarding Pennsylvania’s “catalogue of statutes from the mid-to-late

nineteenth century, as each was enacted at least 50 years after the ratification of the

Second Amendment.”). Indeed, Bruen refused to “address any of the 20th-century

historical evidence brought to bear by respondents or their amici” because, like “late-

19th-century evidence, the 20th-century evidence . . . does not provide insight into

the meaning of the Second Amendment when it contradicts earlier evidence.” 597

U.S. at 66 & n.28; accord Springer, 2023 WL 8436312, at *7–8 (“Defendants

provide no evidence illuminating the scope of the Second Amendment right at or

around the time it was adopted. . . . The vast majority of Defendants’ citations come

at least 20 years after the enactment of the Fourteenth Amendment, which the Bruen

decision only considered to the extent it was consistent with earlier law.”). The

district court ignored that clear instruction, compounding its mistaken reliance on

non-Founding-era sources.


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      Yet more problematically, the district court did not analyze whether these laws

were “relevantly similar” to the challenged provisions in “how” and “why” they

burden Second Amendment rights. Bruen, 597 U.S. at 29; cf. Md. Shall Issue v.

Moore, 86 F.4th 1038, 1047–48 (4th Cir. 2023) (applying these metrics to reject

various analogues as not relevantly similar), reh’g en banc granted, 2024 WL

124290 (4th Cir. Jan. 11, 2024). Even cursory review of the primary sources would

have revealed that they are not. Start with the 1870 Texas and 1883 Missouri laws.

Neither reference parks specifically, and it is an unfounded assumption that people

assemble in parks for educational, literary, or scientific purposes. The opposite

inference is equally plausible: people typically frequent parks to avoid these pursuits

and to pursue recreation and leisure. These analogues thus have a different “how”

than the challenged park carry ban. Cf. May, 2023 WL 8946212, at *13 (rejecting

1870 Texas law as not relevantly similar to a prohibition on carry in zoos).

      Consider next the 20th-century laws from Minnesota, Wisconsin, and North

Carolina. Reading them in context reveals that they are part of hunting laws enacted

to protect wildlife. The Minnesota law prohibits carrying loaded firearms in

conjunction with the taking, catching, or killing of any wild bird or animal within

state parks. 1905 MINN. GEN. LAWS, ch. 344 § 53. Similarly, the Wisconsin law bans

carrying a “gun or rifle” while hunting or trapping within the boundaries of a wildlife

refuge. 1917 WIS. SESS. LAWS, ch. 668 § 29.57(4). And the North Carolina provision


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bars carrying firearms “in any park or reservation such as is described in section one

of this act,” and section one refers to hunting, trapping, and killing animals. 1921

N.C. SESS. LAWS, ch. 6 §§ 1, 3. That provision also allows for exceptions—

individuals who want to carry can obtain written permission from the owner of the

park or reservation. See id. § 3.

      The titles of these statutes confirm that they are hunting restrictions, not

purported public safety measures. The Minnesota law is entitled “An Act for the

Preservation, Propagation, Protection, Taking, Use and Transportation of Game and

Fish, and Certain Harmless Birds and Animals.” 1905 MINN. GEN. LAWS ch. 344 §

53. Similarly, the Wisconsin law is entitled “Wild Animals, and the Regulation of

the Enjoyment, Disposition, and Conservation Thereof; General Control and

Regulation.” 1917 WIS. SESS. LAWS, ch. 668 § 29.57(4). And the North Carolina law

is even more clearly entitled “An Act to Protect Animals and Game in Parks and

Game Reservations in Either Private or Public Parks Or Places.” 1921 N.C. SESS.

LAWS, ch. 6 § 3. The “why” of these laws therefore differs from Defendants’ ban on

carry in parks, insofar as they are geared toward the protection of wildlife. They are

not even “relevantly similar,” let alone “distinctly similar,” to the challenged

restrictions. Bruen, 597 U.S. at 26, 29.

      The district court turned next to local laws, most of which post-date the

Fourteenth Amendment’s ratification and cover only a smattering of parks across a


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few cities. App. Vol. 1 at 192–94. This evidence is also insufficient under Bruen.

According to the 1900 census, more than 10,000 municipalities existed at the time,

so these few local, outlier regulations cannot be probative of “this Nation’s historical

tradition of firearm regulation.” Bruen, 597 U.S. at 17. Moreover, these laws

sometimes applied only to individual parks, see, e.g., 1868 PA. SESS. LAWS § 1

(referencing Fairmount park); CITY OF READING, PA. LAWS & ORDINANCES ch. II §

20 (Louis Richards ed., 1897) (referencing Penn’s Common park), and were often

coupled with restrictions on shooting animals, see, e.g., PA. ACTS OF ASSEMBLY § 21

(Philadelphia, 1870) (“No persons shall carry fire-arms, or shoot birds in

[Fairmount] Park[.]”); ANN. REPORTS OF THE CITY OF ST. PAUL § 6 (1888) (“No

person shall carry firearms or shoot birds in any Park or within fifty yards

thereof[.]”). Thus, they are not relevantly similar in “how” and “why” they burden

Plaintiffs’ Second Amendment rights either.

      These municipal laws also deserve skeptical treatment for another reason;

they often barred the exercise of other constitutional rights, such as freedom of

speech or assembly, rendering them poor models of constitutionality. For example,

a regulation restricting firearms in Central Park from 1858 barred “conversing with

construction workers.” MINUTES OF PROCEEDINGS OF THE BD. OF COMM’RS OF

CENTRAL PARK (1858). And Brooklyn’s Prospect Park in 1868 restricted “indecent

language.” RULES & REGULATIONS, PROSPECT PARK, BROOKLYN (1868). A


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regulation from the same year governing Fairmount Park in Pennsylvania similarly

barred “indecent language” and public gatherings or meetings for political purposes.

1868 PA. SESS. LAWS, supra. Just as the Supreme Court rejected various analogues

in Bruen that were unconstitutional for other reasons, this Court should do the same

here. See Bruen, 597 U.S. at 127 (rejecting reliance on regulations “designed or

enforced in a [racially] discriminatory manner”); see also id. at 63 n.26 (rejecting

reliance on analogue because it also violated the Constitutional right to a jury trial).

      It is also worth noting that a district court judge for the District of New Mexico

recently rejected all of the laws Defendants cite here as justifying the restriction on

carry in parks. See Springer, 2023 WL 8436312, at *5–8. That court noted “several

issues that render them irrelevant or unpersuasive in light of Bruen.” Id. at *7. For

starters, the analogues arrived too late—most of them were passed “more than two

decades after the enactment of the Fourteenth Amendment.” Id. And several

analogues stemmed from the 20th century, “a time period which the Bruen decision

expressly chose not to consider, as they were not consistent with earlier law.” Id.

Finally, that court rejected analogues from the Western territories because Bruen

“expressly rejected relying on territorial laws or decisions.” Id. at 8. Left with no

other persuasive analogues—from the Founding era or elsewhere—the district court

properly enjoined the same restriction challenged here that bars firearm carry in

parks. See id.


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      C. There Is No Historical Tradition of Barring Carry at Playgrounds

      The district court also erred in holding that firearm carry may be restricted on

playgrounds in Albuquerque and Bernalillo County. The court reached that

conclusion by analogizing playgrounds to schools. App. 196–99 (citing Heller, 554

U.S. 570, 626–27 (2008)). This reasoning is flawed for three reasons. First, it pays

no heed to the original reason why guns were banned around schools, and the

narrowness of such bans throughout the Founding era. Second, it flies in the face of

the broader Founding-era tradition, which was to permit (indeed, sometimes to

require) the bearing of arms in public assemblies where people gathered, including

children and other purportedly vulnerable groups. Third, Bruen did not recognize

schools in its list of presumptive sensitive places.

      First, as with the three sensitive places Bruen recognized as “presumptively

lawful,” it is necessary to understand precisely when, why, and how guns were

historically banned at schools. Founding-era restrictions that related to schools were

limited in how they burdened Second Amendment rights. See Kopel & Greenlee at

247–48. Most importantly, they only applied to students, not faculty, staff, or visitors

to campus. See Ctr. for Hum. Liberty Br., supra, at 20–22.9 Thus, they did not burden


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        Restrictions summarized are (1) the University of Virginia’s 1825 ban on
student possession in response to students’ “spoiled and violent behavior” of
previously “fir[ing] guns in the air, and sho[oting] at each other”; (2) Harvard’s 1655
ban on students keeping guns; (3) Yale’s 1795 ban on students keeping or firing guns;
(4) North Carolina’s 1799 ban on students keeping and using guns; (5) Rhode Island
                                          38
Second Amendment rights in the same way as a general prohibition on carry

wherever children are gathered, as Defendants’ playground restriction does.

      Finally, there was a particular reason why schools could legally disarm

students in that time period: they exercised in loco parentis authority over them. See,

e.g., Morse v. Frederick, 551 U.S. 393, 413 n.3 (2007); State v. Pendergrass, 19 N.C.

365, 366 (1837) (recognizing that the “teacher is the substitute of the parent”); State

v. Mizner, 45 Iowa 248, 251 (1876); North v. Bd. of Trs. of Univ. of Ill., 137 Ill. 296,

306, 27 N.E. 54, 56 (1891) (“By voluntarily entering the university, or being placed

there by those having the right to control him, [the student] necessarily surrenders

very many of his individual rights.”).10 Historical exercises of this authority do not

support restricting firearm carry by anyone not subject to that sort of authority. It

therefore follows that analogies from schools to places such as playgrounds lack any

basis. Because Defendants do not have in loco parentis authority over law-abiding




College (now Brown University)’s 1803 restriction on students keeping guns; (6) the
University of Georgia’s 1810 restriction on students keeping guns; and (7)
Columbian College (now George Washington University)’s ban on students keeping
firearms. None of these laws extended to school staff or visitors to campus.
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         Although colleges and universities were historically understood to possess
in loco parentis authority over their students, they are no longer understood to have
that authority. See, e.g., McCauley v. Univ. of the Virgin Islands, 618 F.3d 232, 243
(3d Cir. 2010); Bradshaw v. Rawlings, 612 F.2d 135, 139 (3d Cir. 1979). These
historical laws would accordingly not justify firearm bans on college students today.
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adults who would carry firearms to protect themselves and children at playgrounds,

historical restrictions on students carrying in schools carry no weight.

      Second, Colonial- and Founding-era laws combine to form a robust tradition

of permitting (and sometimes requiring) firearm carry in public assemblies and

religious services. See Kopel & Greenlee at 232–34 & n.108, 244; Clayton E.

Cramer, Colonial Firearms Regulation, 16 J. FIREARMS & PUB. POL’Y 1 (2016);

Benjamin Boyd, Take Your Guns to Church: The Second Amendment and Church

Autonomy, 8 LIBERTY UNIV. L. REV. 653, 697–99 (2014). At one public gathering,

now remembered as the Boston Massacre, British soldiers opened fire on a crowd of

colonists in 1770. In defending the soldiers at trial, John Adams conceded that, in

this country, “every private person is authorized to arm himself, and on the strength

of this authority, I do not deny the inhabitants had a right to arm themselves at that

time, for their defence[.]” John Adams, Argument for the Defense: 3-4 December

1770, NAT’L ARCHIVES FOUNDERS ONLINE, https://bit.ly/35FCuRh.

      And at least some Founding-era gatherings—replete with firearms—

presumably included the presence of children and other vulnerable groups. For

example, Heller cited a 1770 Georgia law requiring men to carry firearms “to places

of public worship.” 554 U.S. at 601. Similarly, Maryland in 1642 and Virginia in

1631, 1642, and 1755 required able-bodied men to bear arms while at church.

ARCHIVES OF MARYLAND 103 (William Hand Browne ed., Baltimore, Md. Hist.


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Soc’y 1885); 1 THE STATUTES AT LARGE OF VIRGINIA 174, 263, 534 (William Walker

Hening ed., 1809). And Connecticut in 1639, Massachusetts in 1642, and Rhode

Island in 1639 all required individuals to come armed to public meetings. See PUBLIC

RECORDS OF THE COLONY OF CONNECTICUT 95 (Hartford, Brown & Parsons 1850);

1 RECORDS OF THE COLONY OF RHODE ISLAND 94 (John Russell Bartlett ed. 1856).

      In sum, history reveals that the Founding-era tradition was to require the

bearing of arms around vulnerable people, such as in churches, because disarming

the vulnerable and their caretakers makes them more defenseless, not less. See, e.g.,

Mark W. Smith, Enlightenment Thinker Cesare Beccaria and His Influence on the

Founders: Understanding the Meaning and Purpose of the Second Amendment’s

Right to Keep and Bear Arms, 2020 PEP. L. REV. 71, 83 (2020) (“Beccaria’s

Influence”) (explaining that the Founders were influenced by prominent

Enlightenment Thinker Cesare Beccaria who wrote that gun control laws “make

things worse for the assaulted and better for the assailants”); see also THOMAS

JEFFERSON, LEGAL COMMONPLACE BOOK 521 (2019) (quoting this language). At

least one federal district court recently concluded as much. See May, 2023 WL

8946212, at *11 (“Rather than delivering children to the state (sometimes with armed

officers) for protection, at playgrounds parents and caregivers remain responsible

for their children’s safety without any immediate support[,]” and California’s

“prohibition on CCW permitholders carrying firearms at playgrounds and youth


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centers eviscerates their ability to defend themselves and their children against

attack.”).

       Third, Bruen did not include schools on its list of locations where firearms

could be “presumptively” banned. See 597 U.S. at 31. Rather, it cited as an example

of the continuing importance of Second Amendment rights in the Reconstruction Era

the arming of teachers in Freedmen’s Bureau schools. See id. at 61. Far from

endorsing schools as sensitive places, Bruen thus suggested that there is no historical

tradition of barring carry in them altogether. While Bruen cited Heller’s earlier

suggestion (in dicta) that “schools and government buildings” potentially could be

considered “sensitive places[,]” Bruen reiterated firearm regulation only at three

specified places and instructed courts to “use analogies to those historical regulations

of ‘sensitive places’” when assessing the constitutionality of firearm restrictions at

modern locations. Id. at 30 (emphasis added). It makes little sense to say that Bruen’s

list of three specific types of government buildings is in reality a conclusion that all

government buildings are sensitive. Accord United States v. Ayala, No. 8:22-cr-369,

2024 WL 132624, at *11 (M.D. Fla. Jan. 12, 2024). Nor is this in any way

inconsistent with Heller, which did not purport to “clarify the entire field” of Second

Amendment rights and stated that “there will be time enough to expound upon the

historical justifications for the exceptions we have mentioned if and when those

exceptions come before us.” 554 U.S. at 635. As explained, to the extent firearms


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historically were restricted in schools, those restrictions were limited to students over

whom the schools had in loco parentis authority.

      It also defies Bruen’s logic to hold—as the district court did—that places with

high concentrations of children automatically become sensitive places. Instead,

Bruen recognized a general right to public carry in many locations where children

are undoubtably present, such as sidewalks and “the island of Manhattan.” See, e.g.,

id. at 31, 33. Lastly, Bruen also cautioned against construing “sensitive places” “too

broadly,” lest the narrow exception “in effect exempt cities from the Second

Amendment and [] eviscerate the general right to publicly carry arms for self-

defense[.]” Id. at 31. But that is precisely the effect of creating some nebulous

category of sensitive place based merely on some undefined concentration of young

persons, as it would permit the banning of firearms in all churches with Sunday

Schools, at birthday parties, in community centers, and even at backyard barbeques.

Of course, there is no historical tradition of any of that.

      In sum, the district court erred in holding that firearms may be banned at

playgrounds because they are analogous to schools. It is not enough to say, with no

limiting principle, that a place is simply “like a school” and thus sensitive because

children gather there. Doing so would “eviscerate” the general right to carry for self-

defense in public. Carry for self-defense and for defense of the vulnerable is most

acute at places like playgrounds because vulnerable children are less capable of


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defending themselves than the average adult. Criminals and mass murderers,

including those who target soft targets with vulnerable populations, will not respect

Defendants’ Public Health Order—and indeed may be emboldened by the

knowledge that law-abiding citizens are barred from carrying firearms at

playgrounds. Unfortunately, violence in and around playgrounds is far from

speculative. See Bruce Jacquot, 2 Teens Arrested in Fatal West Ashley Playground

Shooting; Coroner Identifies Victim, ABC 4 NEWS (Dec. 22, 2023),

https://bit.ly/3Ubqu4v; Ricardo Wells, Police Kill Armed Man Near School

Playground, THE TRIBUNE (Feb. 13, 2018), https://bit.ly/3vOWcKD. The Second

Amendment guarantees Plaintiffs the right to ensure that they and their families are

not similarly victimized.

                                        ***

      Applying Bruen faithfully requires ruling that Plaintiffs are likely to succeed

on the merits of their Second Amendment claim. Founding-era traditions of firearm

carry existed in both parks and places where children gathered. Thus, even if this

Court credits the same Reconstruction-era analogues the district court relied upon

(and it should not), these analogues are not persuasive because they contradict the

earlier historical tradition. See Bruen, 597 U.S. at 65–66 (rejecting analogue as

unpersuasive where it “contradicts the overwhelming weight of other evidence

regarding the right to keep and bear arms for defense in public” (cleaned up)).


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Finally, Defendants’ analogues are also unpersuasive because they are not

widespread enough and are not relevantly similar in “how” and “why” they burden

Second Amendment rights.

      One final note. Pre-Bruen, New Mexico allowed licensed individuals to carry

for self-defense in parks and playgrounds. Indeed, individuals could previously open

carry at these locations without a permit or conceal carry with a permit. 11 And more

than 48,000 New Mexicans hold concealed carry licenses. See, e.g., New Mexico

Concealed Carry Reciprocity Overview, CONCEALED COAL., https://bit.ly/3OihPcw

(last visited Jan. 26, 2024). The violent crime rates Defendants cite as justification

for the Public Health Order cannot be used to curtail the Second Amendment rights

of the law-abiding—indeed, to the extent rising crime rates have any relevance, they

underscore the need for robust Second Amendment rights. For elevated levels of

violence often “cause law-abiding citizens to feel the need to carry a gun for self-


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        The overwhelming weight of authority conclusively demonstrates that law-
abiding gun owners—the only persons who will obey the Governor’s
unconstitutional edicts—are not the problem. See May, 2023 WL 8946212, at *19
(“Simply put, CCW permitholders are not the gun wielders legislators should fear.”);
Wolford v. Lopez, No. 23-cv-00265, 2023 WL 5043805, at *32 (D. Haw. Aug. 8,
2023) (“the vast majority of conceal carry permit holders are law-abiding.”); Koons,
2023 WL 3478604, at *108 (“[T]he State has failed to offer any evidence that law-
abiding responsible citizens who carry firearms in public for self-defense are
responsible for an increase in gun violence.”); see also Jens Ludwig et al., Gun
Control After Heller: Threats and Sideshows From a Social Welfare Perspective, 56
UCLA L. REV. 1041, 1082 (2009) (“The available data about permit holders also
imply that they are at fairly low risk of misusing guns, consistent with the relatively
low arrest rates observed to date for permit holders.”).
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defense.” Bruen, 597 U.S. at 74 (Alito, J., concurring). The Founders had this in

mind, as evidenced by their writings and speeches adopting the arguments of

Enlightenment thinker Cesare Beccaria, who recognized that gun control laws

“disarm those only who are neither inclined nor determined to commit crimes” and

thus “serve rather to encourage than to prevent homicides, for an unarmed man may

be attacked with greater confidence than an armed man.” Beccaria’s Influence,

supra, at 83–84; see also id. (“[W]hen guns are outlawed, only outlaws will have

guns.” (cleaned up)). Carry at parks and playgrounds did not harm New Mexico pre-

Bruen, and it will not do so now.

III.   OTHER EQUITABLE FACTORS
       Plaintiffs also demonstrate that they have suffered irreparable injury and that

the balance of the equities and the public interest favor them.

       A. Plaintiffs Are Suffering Continuous Irreparable Injury
       Because Plaintiffs show that they are likely to succeed on the merits of their

claim that the Order violates their constitutional rights, they necessarily suffer

ongoing, irreparable injury while it remains in force. See Planned Parenthood Ass’n

of Utah v. Herbert, 828 F.3d 1245, 1263 (10th Cir. 2016); Elrod v. Burns, 427 U.S.

347, 373 (1976) (reasoning that the loss of First Amendment rights “for even

minimal periods of time, unquestionably constitutes irreparable injury”). Indeed,

“[w]hen an alleged constitutional right is involved, most courts hold that no further

showing of irreparable injury is necessary.” Herbert, 828 F.3d at 1263 (cleaned up);
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see also 11A WRIGHT & MILLER, FED. PRAC. & PROC. CIV. § 2948.1 (3d ed. 2020)

(collecting cases). After all, what makes an injury irreparable is “the inadequacy of,

and the difficulty of calculating, a monetary remedy after a full trial.” Free the

Nipple-Fort Collins v. City of Fort Collins, 916 F.3d 792, 806 (10th Cir. 2019). And

“[a]ny deprivation of any constitutional right fits that bill.” Id. Because Plaintiffs are

likely to succeed on the merits of their Second Amendment claim, they need not

show any further irreparable harm, as numerous courts have recognized. See, e.g.,

id.; Ezell v. City of Chicago, 651 F.3d 684, 699 (7th Cir. 2011); Jones v. Bonta, 34

F.4th 704, 732 (9th Cir. 2022), vacated pending reh’g en banc, 47 F.4th 1124 (9th

Cir. 2022); cf. Antonyuk,, 2023 WL 8518003, at *54 (violation of First Amendment

rights from ban on firearm carry in churches constitutes irreparable injury).

      Defendants may argue that the alleged public safety rationale behind the

Governor’s firearms restrictions somehow justifies a different irreparable harm

analysis. Not so. For starters, the Supreme Court has plainly stated that the Second

Amendment is not a second-class right. See Bruen, 597 U.S. at 70. Moreover, the

Supreme Court rejected such a Second-Amendment-is-different argument in

McDonald, with the lead opinion noting that it is “not the only constitutional right

that has controversial public safety implications.” 561 U.S. at 783 (plurality). A

majority of the Bruen Court reiterated this statement. 597 U.S. at 17 n.3. Indeed,

“[a]ll of the constitutional provisions that impose restrictions on law enforcement


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and on the prosecution of crimes fall into the same category.” McDonald, 561 U.S.

at 783 (plurality). There is no basis to conclude that a plaintiff’s irreparable harm

from a violation of his Second Amendment rights is somehow lessened by

allegations of a negative effect on public safety. And in any event, the most likely

public safety consequence of Defendants’ carry ban is to, by disarming the law-

abiding, make allegedly vulnerable people more vulnerable. It is hard to imagine any

criminal intent on committing heinous crimes being deterred by Defendants’ ban,

but it is almost inevitable that a disarmed mother will be unable to protect her

children from a violent predator intent on doing them harm.

      B. Injunctive Relief Would Not Harm New Mexico or the Public Interest
      The balance of the equities and the public interest—merged in a suit against

the government—also favor Plaintiffs. Although “[t]he first two factors of the

traditional [injunctive relief] standard”—likelihood of success on the merits and

irreparable injury—“are the most critical,” Nken, 556 U.S. at 434, there is also no

basis to conclude that the relief sought will “substantially injure” New Mexico or

the public at large. Hilton v. Braunskill, 481 U.S. 770, 776 (1987).

      Because the irreparable injury Plaintiffs suffer arises from the deprivation of

a constitutional right, no opposing interest Defendants may claim suffices. For the

mere “possibility” of a constitutional right “being irreparably harmed outweighs any

opposing interests asserted by” Defendants. Herbert, 828 F.3d at 1265. And because


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the “citizens of [New Mexico] have an interest in ensuring that their elected public

officials do not engage in conduct that violates the constitutional rights of another

citizen,” the public interest favors Plaintiffs. See id. at 1266. In other words, it is

“always in the public interest to prevent the violation of a party’s constitutional

rights.” Free the Nipple-Fort Collins, 916 F.3d at 807 (cleaned up). The final two

equitable factors thus favor Plaintiffs.

                                   CONCLUSION
      For all these reasons, the judgment below should be reversed.


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              STATEMENT REGARDING ORAL ARGUMENT
      Pursuant to 10th Circuit Rule 28.2(C)(2), Plaintiffs-Appellants respectfully

request oral argument in these consolidated cases because this appeal involves a

constitutional challenge to a State Order. Oral argument would serve to focus the

Court’s attention on key methodological considerations under the Supreme Court’s

recent decision in New York State Rifle & Pistol Association v. Bruen, as well as the

reasons why this Court should not accept Defendants’ historical analogues.




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                           CERTIFICATE OF SERVICE
      I hereby certify that on January 30, 2024, I served a true and complete copy

of the foregoing Consolidated Opening Brief of Appellants upon the following

parties by e-filing with the CM/ECF system maintained by the court:



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                     CERTIFICATE OF COMPLIANCE
      I hereby certify that this Brief complies with the type-volume limitations set

by Federal Rule of Appellate Procedure 32(a)(7)(B)(i) because it contains 11,861

words. This Brief also complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) because it has been prepared in a 14-point Times New

Roman, a proportionally spaced typeface.




Dated: January 30, 2024                            /s/ Cameron L. Atkinson
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